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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- X
                                                                        :
PULSEDATA, INC.,                                                        :
                                                                        :
                                    Plaintiff,                          :        23-CV-3653 (JMF) (GWG)
                                                                        :
                  -v-                                                   :        ORDER OF REFERENCE
                                                                        :         TO A MAGISTRATE
JUNG HOON SON,                                                          :              JUDGE
                                                                        :
                                    Defendant.                          :
                                                                        :
----------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        This action is referred to the assigned Magistrate Judge for the following purpose(s):

___     General Pretrial (includes scheduling,       ___           Consent under 28 U.S.C. § 636(c) for all
        discovery, non-dispositive pretrial motions,               purposes (including trial)
        and settlement)
                                                     ___           Consent under 28 U.S.C. § 636(c) for
___     Specific Non-Dispositive Motion/Dispute:                   limited purpose (e.g., dispositive motion,
        _________________________________                          preliminary injunction)
                                                                   Purpose: _______________________
___     If referral is for discovery disputes when
        the District Judge is unavailable, the time       ___      Habeas Corpus
        period of the referral: ________________
                                                          ___      Social Security
_X__    Settlement
                                                          ___      Dispositive Motion (i.e., motion requiring a
___     Inquest After Default/Damages Hearing                      Report and Recommendation).
                                                                   Particular Motion: ________________

        The parties are directed to contact the Chambers of the Magistrate Judge to whom the
case is reassigned no later than July 14, 2023, to schedule a settlement conference.

        SO ORDERED.

Dated: July 6, 2023                                        __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
